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FOR THE WESTERN DISTRICT OF TENNESSEE

IN THE UNITED sTATEs DISTRICT coURT lub- EY-~_ mg
wESTERN DIVISION OSJUL 20 H ¢,

"UMSH.(XMD
LAURA A. TAVERNIER, M.D., CUHCU° %`D?!C
:»`3:}'.,

Plaim;iff, ams

V. NO. 03-2423-MaP

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

ORDER CONTINUING TRIAL AND SETTING STATUS/SCHEDULING CONFERENCE
AND ORDER ON MOTION FOR EXTENSION OF TIME TO RESPOND

 

Before the court is the July 12, 2005, joint motion of the
parties to continue the trial, schedule a status conference, and
extend plaintiff's deadline for responding to pending motions for
summary judgment. For good cause shown, the motion to continue
the trial date and set a status conference is granted. The
pretrial conference and the jury trial presently set on September
9, 2005, and September 19, 2005, respectively, are continued in
order to allow the parties to pursue mediation. In the event the
case is not settled through mediation, a status conference is set
on Friday, September 16, 2005, at 10:00 a.m., at which time a new

trial date will be set.

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The parties’ motion for an extension of time for plaintiff

to respond to pending motions for summary judgment is moot, since

plaintiff filed her responses on July 18, 2005.

It is so ORDERED this 1"""\Aday of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 126 in
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Honorable Samuel Mays
US DISTRICT COURT

